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           EXHIBIT A
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Firm Resume
                                                                                         ATTORNEYS
Girard Sharp specializes in class actions and other complex litigation. Our     Partners
                                                                                    Daniel Girard             p. 2
clients range from individual consumers and small businesses to Fortune
                                                                                    Dena Sharp                p. 3
100 companies and public retirement systems. We are experienced in                  Adam Polk                 p. 4
antitrust, securities, consumer protection, products liability, privacy, and        Jordan Elias              p. 5
whistleblower laws. We represent our clients in class and collective actions,       Scott Grzenczyk           p. 6
multidistrict litigation, and arbitrations. Since our founding in 1995, we          Simon Grille              p. 7
have recovered billions in settlements and trial judgments, leveling the            Tom Watts                 p. 8
playing field for our clients and successfully confronting the most
                                                                                Associates
determined and sophisticated adversaries.
                                                                                   Mikaela Bock               p. 8
                                                                                   Samhita Collur             p. 9
Girard Sharp is distinguished as a Tier 1 law firm for plaintiffs’ mass tort       Namita Dhawan              p. 9
and class action litigation by Best Lawyers and has appeared on its list of        Reid Gaa                   p. 9
“Best Law Firms” for more than a decade. In 2023, Girard Sharp was                 Erika Garcia              p. 10
featured in multiple practice areas in the National Law Journal’s Elite Trial      Nina Gliozzo              p. 10
                                                                                   Sean Greene               p. 11
Lawyers awards: the firm won in the Pharmaceutical Litigation category,            Jordan Isern              p. 11
received an honorable mention in Products Liability, and was recognized            Patrick Johnson           p. 11
as a finalist in Antitrust, Class Actions, Consumer Protection, and                Kristen Palumbo           p. 12
Privacy/Data Breach. In 2022, Law360 recognized Girard Sharp as                    Kyle Quackenbush          p. 12
Practice Group of the Year for Product Liability Litigation, and the               Tony Rogari               p. 13
National Law Journal recognized the firm for its expertise in                      Trevor Tan                p. 13
                                                                                   Peter Touschner           p. 14
Pharmaceutical Litigation. The Daily Journal awarded Girard Sharp its
“Top Plaintiff Verdicts: Impact” award in 2021, and its “Top Boutiques in
                                                                                Of Counsel
California” award in 2020. Girard Sharp has also been named by the
                                                                                    Michael Danko            p. 14
National Law Journal to its “Plaintiffs’ Hot List,” a selection of top U.S.         Kristine Meredith        p. 15
plaintiffs’ firms recognized for wins in high-profile cases, and was
recognized as a “2023 Plaintiff Leader” by the Global Data Review for work
in privacy protection matters.
                                                                                Antitrust                    p. 15
The firm’s attorneys have been recognized as Northern California Super          Securities and Financial
Lawyers and Rising Stars. Daniel Girard and Dena Sharp also have been            Fraud                       p. 17
recognized as among the “Top 100 Super Lawyers” in Northern California,         Deceptive Trade Practices    p. 20
and since 2020, Dena Sharp has been named one of the Top 50 Women               Defective Products           p. 22
                                                                                Privacy Violations           p. 24
Attorneys. Partners Daniel Girard, Dena Sharp, and Jordan Elias are             Insurance and Other Consumer
elected members of the American Law Institute, and have been selected by          Protection Matters         p. 26
their peers for inclusion in The Best Lawyers in America, along with several    Women’s Advocacy, Fertility,
other Girard Sharp lawyers who have been recognized by Best Lawyers as            and Sexual Abuse           p. 29
“Ones to Watch.” Additionally, Best Lawyers designated Dena Sharp as the        Mass Tort                    p. 29
                                                                                Government Reform            p. 30
2023 “Lawyer of the Year” in San Francisco for class action litigation, and
Daniel Girard as a 2013 “Lawyer of the Year.” In 2023, Law360 also
recognized Dena Sharp as a “Titan of the Plaintiffs Bar,” and the National
Law Journal has honored her three times as an “Elite Woman of the
Plaintiff’s Bar.”
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  ATTORNEYS

  Partners


        Daniel Girard founded the firm in 1995 to offer dedicated, professional
representation to everyday Americans. Dan believes that individuals who work
hard and play by the rules deserve the same focused, skillful representation
enjoyed by corporations, banks, and insurance companies. Under Dan’s
leadership, Girard Sharp has become one of the most respected and experienced
class action law firms in the United States, consistently delivering outstanding
results in challenging cases.

        Dan has been appointed by federal courts to lead class actions brought
under a range of federal and state laws, often involving investments and consumer
financial services matters. Dan currently serves as lead counsel in the GWG
Holdings Securities Litigation in the Northern District of Texas, the Wells Fargo J&J
Investments Litigation in the District of Nevada and the PFA Insurance Marketing
Litigation in the Northern District of California. He recently served as counsel for investors in the
Woodbridge Investments, Jay Peak EB-5 Investments, Peregrine Financial Group and Provident
Royalties cases, all of which involved parallel bankruptcy and criminal or regulatory proceedings against
investment promoters. He has led successful class actions in such areas as securities, corporate
governance, telecommunications, unfair competition, federal statutory rights, predatory lending, sexual
abuse, product liability, and constitutional law.

       In addition to individuals, Dan’s past and present clients include municipal and state employee
retirement systems, public employee unions, financial institutions, property and casualty insurers, and
NYSE companies.

       Dan has been privileged to serve the federal court system through his work on federal rulemaking
committees. He was appointed by Chief Justice William H. Rehnquist to the United States Judicial
Conference Advisory Committee on Civil Rules in 2004 and served on the Civil Rules Committee through
2010. Chief Justice John G. Roberts appointed Dan to the Standing Committee on Rules of Practice and
Procedure in 2015 and reappointed him to a second term in 2018. Dan’s article, “Limiting Evasive
Discovery: A Proposal for Three Cost-Saving Amendments to the Federal Rules,” 87 Denver University
Law Review 473 (2010), proposed several rule amendments that were ultimately adopted in Federal Rule
of Civil Procedure 34(b)(2).

        Dan serves as a member of the Council of the American Law Institute, where he chairs the Audit
Committee and serves on the Membership and Development Committees. He has been recognized in The
Best Lawyers in America since 2012, and as a Northern California Super Lawyer since 2007. He is a
longstanding member of the American Bar Association, Section on Business Law, Corporate and Business
Litigation Committee.




   GIRARD SHARP FIRM RESUME                                                                        Page 2
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        Dena Sharp is dedicated to finding common-sense solutions in even the
most complex litigation. She recently served as co-lead counsel in the In re Juul
Labs Inc. multidistrict litigation, which resulted in recoveries of nearly $2 billion
for individual consumers, school districts, municipalities, and Native American
tribes. The last of the Juul settlements—for $235 million with Altria (formerly
Philip Morris)—was reached after Dena and her co-lead trial counsel rested the
plaintiff’s case in a bellwether jury trial against the tobacco giant.

       Dena currently serves as co-lead counsel in In re Xyrem Antitrust Litigation
and In re Google Digital Advertising Antitrust Litigation, as well as in leadership
positions in various life sciences and statutory damage matters. She also serves as
a member of the End-Payer Steering Committee in the massive In re Generic
Pharmaceuticals Pricing Antitrust Litigation. Dena previously led a team to a $104.75
million recovery on the eve of trial in a certified “pay-for-delay” antitrust class action concerning the drug
Lidoderm, which delivered the largest recovery for a class of end-payers in similar federal litigation in
more than decade.

         Dena tries cutting-edge cases. In a first-of-its-kind jury trial in 2021, Dena and team represented
clients whose eggs and embryos were in a freezer tank at a fertility clinic that failed. After a three-week
trial, the jury returned a $15 million verdict for the plaintiffs, leading to a global resolution with the tank
manufacturer for the dozens of households represented by Girard Sharp.

       Outside the courtroom, Dena chairs the board of directors of the Impact Fund, a public interest
nonprofit. She is an elected member of the American Law Institute, sits on the board of advisors for the
Center for Litigation and the Courts at the UC College of the Law, San Francisco, and serves on the
executive committee of the local chapter of the Federal Bar Association. Dena co-wrote a chapter in the
ABA’s “Class Action Strategy and Practice Guide,” and the widely-cited Sedona Principles: Best Practices
and Principles for Electronic Document Production (Third Edition). She is the immediate past co-chair for the
Northern District of California’s Lawyer Representatives to the Ninth Circuit Judicial Council.

       Dena was recognized as the 2023 “Lawyer of the Year” in San Francisco for Plaintiffs’ Mass Tort
/ Class Action Litigation by Best Lawyers in America, and selected as a “Titan of the Plaintiffs’ Bar” by
Law360 in April 2023. Dena has three times been named to the National Law Journal’s “Elite Women of
the Plaintiffs’ Bar,” honoring her as one of only a handful of lawyers nationwide who has “consistently
excelled in high-stakes matters on behalf of plaintiffs.” The Daily Journal has also recognized her as one of
the “Top Antitrust Lawyers in California” and “Top Women Lawyers” in California. In 2023, Dena was
selected as one of the Top 100 Super Lawyers in Northern California, and since 2020 she has been
recognized by San Francisco magazine as one of the “Top 50 Women Attorneys in Northern California.”

        Dena is a graduate, cum laude, of the University of California College of the Law, San Francisco,
and earned her undergraduate degree from Brown University, where she graduated magna cum laude. A
first-generation American, Dena is fluent in Spanish and German.




   GIRARD SHARP FIRM RESUME                                                                              Page 3
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       Adam Polk’s experience spans all aspects of civil litigation, from initial
case investigation and complaint preparation through trial and settlement.
Respected among his peers for his leadership, preparation, and client-centered
decision-making, Adam’s practice encompasses a range of class action matters,
including products liability, consumer finance, securities, antitrust, corporate
governance, life science, and sexual abuse.

        Adam currently serves as co-lead counsel in In re Hewlett Packard Enterprise
Co. Shareholder Litigation (a securities case alleging Hewlett Packard misled
investors when it merged with Computer Science Corporation Inc. to form DXC
Technology Company); In re Accellion Data Breach Litigation (litigation following a
data breach incident involving the theft of sensitive information in files loaded to
Accellion’s File Transfer Appliance system); In re Huntington Bancshares Inc.
Shareholder Litigation (alleging violations of the Securities Act of 1933); and In re MCG Health Data Security
Issue Litigation (centering on alleged exfiltration of personal health information). He also serves on the
leadership teams in In re PFA Insurance Marketing Litigation, In re Allergan Biocell Textured Breast Implant
Products Liability Litigation, and In re Philips Recalled CPAP, Bi-Level Pap, and Mechanical Ventilator Products
Litigation.

       Recently, Adam served as a key member of the trial team in In re Pacific Fertility Center Litigation. In
a landmark result, the jury awarded approximately $15 million for the loss of four families’ eggs and
embryos. A global resolution with the tank manufacturer followed for the dozens of households
represented by Girard Sharp.

       Adam has taken a leading role in several recent cases that resolved favorably for his clients,
including In re Maxar Technologies Inc. Shareholder Litigation (a Securities Act case that resolved for $36.5
million); In re Subaru Battery Drain Litigation (a consumer protection action concerning defective batteries
in Subaru vehicles); Bentley v. LG Electronics U.S.A., Inc. and Sosenko v. LG Electronics U.S.A., Inc. (class
actions alleging that LG’s refrigerators are defective and prone to premature failure); In re Nexus 6P
Products Liability Litigation and Weeks v. Google LLC (two consumer class actions against Google relating to
defective mobile phones, which resolved for a combined $17 million); and In re Sears Holdings Corporation
Stockholder and Derivative Litigation ($40 million settlement).

        Adam is active in the American Bar Association, where he serves as the current co-chair of the
ABA’s National Institute on Class Actions and co-chair of the Virtual Programming Board. He also serves
as a leader of the American Association for Justice’s Class Action Litigation Section.

       Adam has been recognized as a National Trial Lawyers “Top 40 Under 40” every year since 2019.
Adam was also named to Best Lawyers’ “Ones to Watch” list in 2021 and 2022, and honored in 2022 as a
“Rising Star of the Plaintiffs Bar” by the National Law Journal. In 2023, he was named one Lawdragon’s
“500 Leading Consumer Plaintiff Lawyers.” He has been selected by his peers as a Northern California
Super Lawyer, Rising Star every year since 2013.




   GIRARD SHARP FIRM RESUME                                                                              Page 4
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        Jordan Elias has pursued civil claims against oil and tobacco companies,
price-fixing cartels, pharmaceutical companies and the nation’s largest banks.

        Jordan argued the first substantive motion in the digital advertising
monopoly litigation against Google. He was the primary author of the plaintiffs’
briefs in the California Supreme Court in the Cipro “pay-for-delay” antitrust
case, and led the appeal in In re U.S. Office of Personnel Management Data Security
Breach Litigation, 928 F.3d 42 (D.C. Cir. 2019), where the court reversed the
dismissal of a case brought on behalf of 22 million federal government employees
and job applicants whose sensitive private information was hacked. Federal
judges have described his advocacy as “very thorough” and “clearly in the public
interest.”

        Jordan has been recognized by his peers for inclusion in The Best Lawyers in America. A former chief
arbitrator for the San Francisco Bar Association’s attorney fee disputes program, he received a California
Lawyer Attorney of the Year (CLAY) award in 2016 and has been recognized as a Northern California
Super Lawyer, Appellate, since 2014.

       Jordan’s writing and expertise are not limited to case work. He authored the Supreme Court
chapter, and co-authored the Ninth Circuit chapter, in the American Bar Association’s
authoritative Survey of Federal Class Action Law. For several years he has been responsible for the chapter on
antitrust standing, causation, and remedies in California State Antitrust and Unfair Competition
Law (Matthew Bender). Jordan also co-authored the chapter on CAFA exceptions in both the 2013 and
2022 editions of The Class Action Fairness Act: Law and Strategy, an ABA book.

        Jordan’s law review articles include The Multistate Problem in Consumer Class Actions and Three
Solutions, 17 Harvard Law & Policy Rev. 101 (2023), Course Correction—Data Breach as Invasion of Privacy,
69 Baylor L. Rev. 574 (2018), and “More Than Tangential”: When Does the Public Have a Right to Access
Judicial Records?, 29 Journal of Law & Policy 367 (2021). His bar journal articles include “Antitrust
Restoration from California Anchored by a New Monopolization Synthesis,” Vol. 33 No. 1 Competition: J.
Anti. & Unfair Comp. L. Sec. St. B. Cal 34 (Spring/Summer 2023), “Does Bristol-Myers Squibb Co. v. Superior
Court Apply to Class Actions?” ABA Section of Litigation, Class Actions & Derivative Suits (Feb. 25, 2020) (co-
author), “Tilting at Windmills: Nationwide Class Settlements after In re Hyundai and Kia Fuel Economy
Litigation,” ABA Section of Litigation, Class Actions & Derivative Suits (Feb. 28, 2018) (co-author), and Putting
Cipro Meat on Actavis Bones, Vol. 24 No. 2 Competition: J. Anti. & Unfair Comp. L. Sec. St. B. Cal. 1 (2015).
He has filed friend-of-the-court briefs representing legal scholars, the American Independent Business
Alliance, and the League of Women Voters. In 2017 he was elected to the American Law Institute.

       Jordan is a native Californian who attended Harvard-Westlake School in Los Angeles. After
earning his J.D. from Stanford Law School, where he served on the law review, Jordan clerked for the late
Ninth Circuit Judge Cynthia Holcomb Hall. At Yale College he was an all-Ivy League sprinter and
received the Field Prize for best dissertation or senior thesis in the humanities.




   GIRARD SHARP FIRM RESUME                                                                              Page 5
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       Scott Grzenczyk is a partner at Girard Sharp with wide-ranging
experience in complex litigation. He has served as a member of leadership teams
that have recovered billions of dollars on behalf of plaintiffs. Scott brings a
tireless work ethic and a practical, results-oriented approach to his cases,
believing that the best results are achieved by looking at each case holistically and
using creative strategies to overcome challenges. He has successfully applied this
thoughtful, dedicated approach to representing clients in antitrust and consumer
protection matters, among others.

       For nearly a decade, Scott has represented union health and welfare funds
in cases alleging that large, multinational drug companies illegally inflated the
price of prescription drugs. He has developed an in-depth knowledge of the
pharmaceutical industry and the unique challenges that come with prosecuting
antitrust claims against drug companies, which has helped him achieve precedent-setting recoveries,
including a $104.75 million settlement shortly before trial in a case concerning the prescription drug
Lidoderm. He plays a central role in the end-payors’ efforts in In re Generic Pharmaceuticals Antitrust
Litigation and In re Xyrem Antitrust Litigation, as well as the recently-settled In re Restasis Antitrust
Litigation, in which he led the end-payors’ successful bid to obtain class certification. Scott is also a key
member of the co-lead counsel teams in antitrust cases outside of the pharmaceutical industry,
including In re Google Digital Advertising Antitrust Litigation and In re California Gasoline Spot Market Antitrust
Litigation.

       Scott is an integral member of the co-lead counsel team in In re JUUL Labs, Inc. Marketing, Sales
Practices, and Products Liability Litigation, and took primary responsibility for legal briefing and discovery
related to the plaintiffs’ class action claims. After certification of nationwide and California classes, the
class action settled for $300 million. He has a track record of successfully representing consumers,
including car and cell phone purchasers, in cases involving fraud and unfair business practices. Scott also
serves as co-lead counsel for policyowners alleging that Lincoln National increased premiums in violation
of the policy terms. The litigation—including a coordinated proceeding involving other policyowners—
settled for $117.5 million. Scott led the firm’s litigation efforts in a class action filed by native inhabitants
of Guam bringing due process and equal protection claims against the government of Guam. During law
school, he successfully argued a precedent-setting immigration case before the U.S. Court of Appeals for
the Ninth Circuit. Scott also volunteers with the Federal Pro Bono Project of the Bar Association of San
Francisco, including having represented a plaintiff who alleges the San Francisco Zen Center
discriminated against him on the basis of his disability in violation of the Americans with Disabilities Act.

        In addition to his work in the courts, Scott serves as Vice-Chair of the Civil Procedure and Practice
Committee of the American Bar Association’s Antitrust Section. He regularly speaks and writes on
discovery, expert witness, and antitrust issues. In 2023, Scott was named as one of the “Top Antitrust
Lawyers in California” by the Daily Journal. In 2020, he received the American Antitrust Institute’s
Outstanding Litigation Achievement by a Young Lawyer. He has been named to Best Lawyers’ “Ones to
Watch” list every year since 2021 (including in the categories of antitrust, class actions, and products
liability in 2023), and has been selected as a Rising Star in Northern California by Super Lawyers since
2013.




   GIRARD SHARP FIRM RESUME                                                                                 Page 6
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        Simon Grille is a partner at Girard Sharp, representing plaintiffs in all
forms of class and complex litigation. He has taken a lead role in consumer class
actions against some of the largest companies in the world and has recovered tens
of millions of dollars for the firm’s clients.

        Simon has substantial experience in all aspects of civil litigation. In In re
MacBook Keyboard Litigation, No. 5:18-CV-02813-EJD, 2021 WL 1250378 (N.D.
Cal. Apr. 5, 2021), Simon led the firm’s successful efforts in certifying a multistate
class, withstanding sophisticated challenges to Plaintiffs’ experts and a Rule 23(f)
petition, and securing a $50 million settlement on behalf of purchasers of
MacBook laptops with ultrathin “butterfly” keyboards. He served on the lead
counsel team in Bentley v. LG Electronics U.S.A., Inc. and Sosenko v. LG Electronics
U.S.A., Inc. (settlement providing multi-thousand dollar recoveries to class
members who purchased allegedly defective LG refrigerators); and in In re Nexus 6P Products Liability
Litigation and Weeks v. Google LLC (two consumer class actions against Google relating to defective mobile
phones, which resolved for a combined $17 million).

        Simon also has significant experience in the area of privacy litigation. He was appointed lead
counsel in Ochoa et al. v. The Regents of the Univ. of Cal. et al., No. RG21097796 (Cal. Super. Ct., Alameda
Cnty.), a case brought on behalf of victims of a data breach affecting the University of California. He has
also played an integral role on the lead counsel team in In re U.S. Office of Personnel Management Data
Security Breach Litigation, 928 F.3d 42 (D.C. Cir. 2019), which settled for $63 million and will compensate
federal employees and job applicants whose highly sensitive personnel files were exposed in a 2015 data
breach. Simon also served on the plaintiffs’ executive committees in In re Experian Data Breach Litigation,
No. 8:15-cv-01592-AG (C.D. Cal.), and In re 21st Century Oncology Customer Data Security Breach Litigation,
380 F. Supp. 3d 1243 (M.D. Fla.), which resulted in settlements valued in excess of $39 million and $12.5
million, respectively. Simon’s latest efforts in protecting Americans’ privacy in the digital age include leading
the firm’s Video Privacy Protection and Wiretap cases, against such companies as Patreon, Rakuten Viki,
Fandom, and Prudential Financial. In addition, he has successfully led several cases under the Telephone
Consumer Protection Act. Simon welcomes the challenges of complex civil litigation, approaching each
case with a creative problem-solving approach and an unwavering commitment to obtaining the best
possible outcome for his clients.

       Simon was recognized as a 2023 “Top 40 under 40” Lawyer by The Daily Journal and has been included
repeatedly on the “Super Lawyers: Rising Stars” and “Best Lawyers: Ones to Watch” lists. He regularly speaks
on panels regarding complex litigation at national conferences and national webinars. He was editor of the
American Association for Justice’s Class Action Newsletter and served as a volunteer fee arbitrator for the
Bar Association of San Francisco.

         Before joining Girard Sharp, Simon represented victims of toxic exposure in complex civil
litigation. He also has experience working in-house at a multinational company and as an extern for the
Honorable Arthur S. Weissbrodt of the United States Bankruptcy Court for the Northern District of
California.




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       Tom Watts is a partner at Girard Sharp who concentrates his practice on
antitrust, investment fraud and consumer protection litigation.

        Tom’s current matters include representing a certified class of investors in
the Maxar Securities Litigation, which resulted in a $36.5 million settlement, one of
the largest securities judgments ever obtained in California state court. He is also
part of the Girard Sharp co-lead counsel team in the Xyrem Antitrust Litigation, a
high-stakes generic suppression case. Tom also contributes to the firm’s work in
the Generic Pharmaceuticals Antitrust Litigation and the Philips Recalled CPAP, Bi-
Level Pap, and Mechanical Ventilator Products Litigation.

        Tom previously served on the lead counsel team in the Restasis Antitrust
Litigation, helping to achieve a $30 million settlement with pharma giant
Allergan for end-purchasers of Restasis, a dry-eye medication. Tom also participated in Girard Sharp’s
representation of the California State Teachers’ Retirement System in a non-class securities case against
Allergan, securing a confidential settlement for CalSTRS. Tom’s work in consumer cases includes
obtaining refunds and additional cash payments for British Airways passengers affected by COVID 19-
related cancellations.

       Tom is a magna cum laude graduate of Harvard Law School and concurrently received a Master of
Public Policy from the Harvard Kennedy School. He received his B.A. from the University of California,
Berkeley, with High Distinction in General Scholarship.

      Before joining the firm, Tom clerked for the Honorable Jane Roth of the Third Circuit Court of
Appeals and the Honorable Robert McDonald of the Maryland Court of Appeals.

       Since 2020, Tom has been named a Rising Star by Northern California Super Lawyers.

  Associates


        Mikaela Bock advocates for injured consumers and other purchasers in
complex civil litigation, including the California Gasoline Spot Market Antitrust
Litigation, an antitrust case alleging illicit manipulation of the spot market for
gasoline in California. She also represents advertisers suing Google for
monopolizing online advertising markets and consumers whose credit was
inaccurately reported by Equifax. In addition, Mikaela plays a central role in the
firm’s ongoing case against Natera, a provider of prenatal screening tests that
plaintiffs allege are unreliable and inaccurate. She has also volunteered with the
Federal Pro Bono Project of the Bar Association of San Francisco.

       During law school, Mikaela externed in the Northern District of
California and was the national champion of the Evan A. Evans Constitutional
Law Moot Court Competition. She previously worked for Teach for America,
teaching seventh graders in East Palo Alto, California.



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         Samhita Collur advocates for plaintiffs in class actions and other complex
civil litigation.

       Samhita earned her J.D., cum laude, from the University of Wisconsin
Law School. During law school, she interned for Justice Jill Karofsky of the
Wisconsin Supreme Court. She also served as a member of the Moot Court
Board and was awarded Best Oral Advocate for her performance at the
Seigenthaler Sutherland First Amendment Moot Court Competition. As part of
her law school’s immigration clinic, Samhita also represented immigrants
seeking humanitarian relief.

       Before law school, Samhita worked as a Program Manager for a
community-based nonprofit organization in San Francisco offering accessible
financial services.


       Namita Dhawan focuses on complex civil litigation, including antitrust
and securities cases. Prior to joining Girard Sharp, Namita was a patent litigator
at two Am Law Top 100 law firms.

       Namita earned her J.D. from Harvard Law School, where she was co-
president of the Student Animal Legal Defense Fund.




         Reid Gaa focuses on complex civil litigation, including consumer
protection and digital privacy matters. Reid has participated in nearly all phases
of litigation, including drafting pleadings, coordinating document discovery,
preparing dispositive motions, and taking and defending depositions. Before
joining Girard Sharp, Reid litigated complex civil cases at a plaintiff-focused
boutique firm and represented retailer defendants at an Am Law Top 100 law firm.

        Reid earned his J.D., cum laude, from the University of California College
of the Law, San Francisco. While in law school, Reid served as a member of the
Moot Court Student Board and as a teaching assistant for the Legal Writing and
Research Department. He also competed in several moot court competitions,
receiving an award as co-author of the best brief at the Chicago Bar Association
competition. Reid was named to the Northern California Super Lawyers “Rising
Stars” list in 2023.




   GIRARD SHARP FIRM RESUME                                                           Page 9
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       Erika Garcia handles complex e-discovery matters for the firm.

       Before joining Girard Sharp, Erika worked at a large international law
firm with a focus on class action and commercial litigation as well as regulatory
investigations. She has negotiated and drafted numerous confidentiality
agreements in the mergers and acquisitions setting.

      Erika is fluent in Spanish and previously served as a volunteer advocate in
Ecuador for refugees from other Latin American countries.

      Erika received her J.D. from the University of California College of the
Law, San Francisco. She is admitted to practice in California and New York.


         Nina Gliozzo represents plaintiffs in complex litigation, with an emphasis
on consumer and fertility-related litigation. Nina has played a central role on the
trial teams in high-profile cases. In the Pacific Fertility trial, which resulted in a
precedent-setting $15 million jury verdict against the manufacturer of a
malfunctioned storage tank at an IVF clinic, Nina took the direct examinations of
women and couples whose frozen eggs and embryos were lost in the tank failure.
In the JUUL MDL, Nina played an integral role throughout the case, developing
claims against key defendants, conducting discovery, working to obtain class
certification, defending the certification order on appeal, and helping to prepare
cases for trial. Following a global settlement with Juul and other defendants,
Nina was a key trial team member in the first bellwether case against Altria
(formerly Philip Morris). Altria settled after the plaintiff rested its case, bringing
the total settlements to nearly $2 billion. She also plays a central role in the firm’s
work in the Prudential wiretapping case, as well as several ongoing confidential
fertility matters.

       Before joining Girard Sharp, Nina clerked for the Honorable Marsha S. Berzon of the U.S. Court
of Appeals for the Ninth Circuit. She earned her J.D., magna cum laude, from the University of California
College of the Law, San Francisco. During law school she externed for the Honorable Charles R. Breyer,
U.S. District Judge for the Northern District of California. She presently serves on the Advisory
Committee for the Complex Litigation Ethics Conference. While she was in law school, Nina also served
as Executive Symposium Editor for the Hastings Law Journal, organizing a symposium featuring a
conversation with former Supreme Court Justice Anthony M. Kennedy.

       Nina was recognized as a Northern California Super Lawyers “Rising Star” in 2023.




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        Sean Greene brings his experience in insurance defense to his
representation of investors and policyholders at Girard Sharp. His current work
includes representing investors in the GWG Holdings Securities Litigation in the
Northern District of Texas and policyholders in the PFA Insurance Marketing
Litigation in the Northern District of California.

       Sean attended the University of California College of the Law, San
Francisco, where he earned Moot Court Honorable Mention in Oral Advocacy
and served an officer of the Hastings Health Law Organization. Before law
school, he gained extensive knowledge of insurance from working on public
health initiatives to provide health care to underprivileged schoolchildren in
Northeast Pennsylvania.


         Jordan Isern advocates for plaintiffs in class actions and other complex
litigation, with a focus on antitrust. Jordan is a graduate of Harvard Law School.
There, she served as Executive Technical Editor of the Civil Rights–Civil Liberties
Law Review and published several articles for the Covid-19 and the Law Series Blog.

       Before joining Girard Sharp, Jordan worked for the Department of Justice,
Antitrust Division and externed for the Honorable Michael Baylson of the
Eastern District of Pennsylvania. She also interned at several nonprofit legal
organizations, including the Asian American Legal Defense and Education Fund
and the Pennsylvania Innocence Project.

        Outside the courtroom, Jordan is an avid outdoor enthusiast. She enjoys
rock climbing and has backpacked parts of the Appalachian, Continental Divide,
and Pacific Crest trails.


        Patrick Johnson brings his federal civil litigation experience to bear for his
clients in class actions and other complex civil litigation. His primary focus is on
consumer protection, securities, and antitrust.

       Before joining Girard Sharp, Patrick clerked for Magistrate Judge Laurel
Beeler of the Northern District of California. He also litigated at an Am Law Top
100 law firm practicing complex commercial litigation and white-collar
investigations.

        Patrick earned his J.D. from the University of California, Berkeley, School
of Law. In addition to his coursework, Patrick interned for the U.S. Department
of State and was a judicial extern for the Supreme Court of California, working
under Associate Justice Ming W. Chin. He also competed in several mock trial
competitions, including winning the Western Division of the National Trial
Competition. Patrick continues to coach Berkeley Law mock trial teams in his free time.

       Patrick has also volunteered with the Federal Pro Bono Project of the San Francisco Bar

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Association, representing a plaintiff who alleged the City of Hayward discriminated against him in
violation of the Americans with Disabilities Act.

         Kristen Palumbo is an experienced litigator who focuses her practice on antitrust cases, class
actions and other high-stakes complex commercial litigation. Kristen is experienced in all phases of
litigation, including pre-filing investigations, fact discovery, document review, expert discovery, motion
practice, settlement and trial. She has received favorable results for her clients across a wide range of
industries and technologies, including energy, accounting, consumer electronics, microprocessors, flash
memory and data storage systems, biometric authorization and payment solutions, enterprise software
and support services. Kristen has also represented pro bono clients in a variety of matters, primarily
focused on prisoner’s rights.

       Before joining the firm, Kristen was an antitrust and commercial litigator at two international law
firms, where she chaired the firms’ San Francisco Pro Bono and Charitable Giving Committees and
served on the firms’ Diversity and Hiring Committees.


         Kyle Quackenbush prosecutes class actions and other complex civil
litigation. He has participated in all stages of litigation, including drafting
pleadings, coordinating document discovery, taking depositions, preparing
dispositive motions, and trial. Kyle currently contributes to the Girard Sharp co-
lead counsel team in In re California Gasoline Spot Market Antitrust Litigation
(litigation stemming from alleged manipulation of a benchmark price for gasoline
sold in California), In re In re Accellion Data Breach Litigation (litigation following a
data breach incident involving the theft of sensitive information); In re JUUL
Labs, Inc., Marketing, Sales Practices, and Products Liability Litigation, No. 19-md-
02913-WHO (N.D. Cal.) (litigation concerning the vaping epidemic, which
delivered nearly $2 billion in recoveries for the plaintiffs); and In re Natera Prenatal
Testing Litigation (litigation alleging seller of prenatal tests omitted information
concerning the test’s accuracy).

        Kyle has volunteered for the Federal Pro Bono Project of the Bar Association of San Francisco
since receiving his bar license, engaging in full and limited scope representation of plaintiffs. During law
school, Kyle was a Summer Honors Legal Intern at the Federal Trade Commission’s San Francisco
office, and a Legal Extern at the Washington State Attorney General’s Office. While at the FTC, he co-
authored The Efficiencies Defenestration, Are Regulators Throwing Valid Healthcare Efficiencies Out The
Window?, published in the winter 2017 issue of the Journal of the Antitrust and Unfair Competition Law
Section of the California Lawyers Association.

       In addition to his membership in the American Bar Association and the Bar Association of San
Francisco, Kyle participates in the Barristers Association of San Francisco, working to provide
information and resources to lawyers in their first ten years of practice. In 2023, Lawdragon named Kyle
as among the Lawdragon 500 X – The Next Generation. Kyle has also been selected by his peers as a
Northern California Super Lawyer “Rising Star” each year since 2020.




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        Tony Rogari focuses on complex civil litigation, including consumer
digital privacy litigation.

       Tony earned his J.D. from the University of California, Davis School of
Law. During law school, he served as a Senior Online Editor for the UC Davis
Law Review and published his student Note, Consolidating Charter City Elections:
An Argument for Extending the California Voter Participation Rights Act. Tony also
was a Training Chair for the trial practice program and competed in several
mock trial competitions. In addition, he participated in the school’s Civil
Rights Clinic as a student advocate working on prisoner law cases.




      Trevor Tan focuses on consumer protection class actions and other
complex civil litigation, specializing in legal research and writing. He has been
honored as a Rising Star by Super Lawyers since 2019 and appears on Best
Lawyers’ “Ones to Watch” list.

       Trevor has considerable experience working in judicial chambers. Before
joining Girard Sharp, he clerked for the Honorable Fernando M. Olguin of the
U.S. District Court for the Central District of California. Trevor also clerked for
Judges of the Los Angeles County Superior Court and the court’s Appellate
Division, and served as an extern for the Honorable George H. Wu in the
Central District of California.

        Trevor received his J.D. from the University of Chicago Law School.
During law school, in addition to serving as a judicial extern, he served as a law
clerk with the Illinois Attorney General. He also served as a child advocate with
the school’s immigrant child advocacy clinic and worked on behalf of immigrant children from China.
After law school, Trevor represented unaccompanied minors in removal proceedings as a fellow at the
Young Center for Immigrant Children’s Rights.




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        Peter Touschner handles complex class action discovery matters for the
firm. Before joining Girard Sharp, Peter represented class members harmed by
Volkswagen’s emissions-related fraud, as well as insureds who were charged
inflated premiums due to the anticompetitive practices of a hospital
conglomerate.

       Peter previously worked as a Research Attorney at the Center for
Democracy and Technology, where he investigated deceptive online
advertising practices and evaluated proposed cybersecurity legislation. During
law school, Peter externed for U.S. District Judge Charles R. Breyer and served
as Senior Articles Editor for the Hastings Science and Technology Law Journal.



  Of Counsel


        Michael S. Danko is a renowned trial lawyer with more than 35 years
of legal experience. Mike represents individuals who have suffered
catastrophic personal injuries, as well as families of wrongful death victims in
cases involving product defects, defective medications and medical devices,
airplane and helicopter accidents, and dangerous structures. He has tried
cases in state and federal courts throughout the country and has won
numerous eight-figure verdicts on behalf of his clients.

        Mike represents dozens of victims of a Pacific Gas & Electric gas line
explosion and serves on the Plaintiffs’ Steering Committee in a California
state coordinated proceeding, San Bruno Fire Cases, JCCP No. 4648. He also
served on the Science Committee for Plaintiffs in In re Yasmin and Yaz
(Drospirenone) Marketing, Sales Practices and Products Liability Litigation, MDL No. 2100.

       In 2009, Mike won a $15 million jury verdict for a client injured by a defective aircraft part,
which earned him a nomination for 2009 California Trial Lawyer of the Year by the Consumer
Attorneys of California. He also secured a $14.9 million jury verdict against an engine
manufacturer for injuries a passenger sustained in the crash landing of a single-engine aircraft, and
a $10 million court judgment against a large developer for the breach of a promise to deposit
$400,000 into purchase escrow.

        Mike’s trial advocacy has helped bring about significant reforms and changes to corporate
policies. As lead counsel in In re Deep Vein Thrombosis Litigation, MDL No. 1606 (N.D. Cal.), he
represented more than one hundred air travelers who suffered strokes, pulmonary emboli, or heart
attacks as a result of airline-induced blood clots. He developed theories of liability and proof regarding
the cause of his clients’ injuries that led to virtually every major air carrier advising air travelers of the
risks of deep vein thrombosis and measures to mitigate those risks. Mike also represented parents of
children who were injured or killed by a popular candy made by a foreign manufacturer. His work in
proving that the candy’s unusual ingredients and consistency made it a choking hazard resulted in the



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candy being removed from Costco and Albertson’s stores nationwide, and helped persuade the FDA
to ban the candy from further import into the United States.

       Mike has been recognized as one of the nation’s 500 Leading Consumer Lawyers by
Lawdragon, a “Top 100” Trial Lawyer by the National Trial Lawyers, and one of the “Best Lawyers in
America” each year since 2011. Mike also has been named a Northern California Super Lawyer each
year since the award’s inception in 2004. He is a member of the American Association for Justice, the
Lawyer Pilots Bar Association, and the Consumer Attorneys of California, where he served on the
board of governors. Mike received his A.B. degree from Dartmouth College, magna cum laude, in 1980,
and earned his J.D. from the University of Virginia School of Law in 1983.

        Kristine Keala Meredith is a trial attorney specializing in
product liability litigation. Kristine served as co-lead counsel with
Michael Danko representing more than one hundred air travelers who
suffered strokes, pulmonary emboli, or heart attacks as a result of
airline-induced blood clots in In re Deep Vein Thrombosis Litigation,
MDL No. 1606.

         Kristine served on the Law and Motion committee in In re
Yasmin and Yaz (Drospirenone) Marketing, Sales Practices and Products
Liability Litigation, MDL No. 2100, where she assisted in the successful
opposition to 15 Daubert motions in fewer than three weeks. Before she
began representing plaintiffs, Kristine worked on the national defense
counsel teams for medical device manufacturers in multi-district
litigation including In re Silicone Gel Breast Implants Product Liability Litigation, MDL No. 926, and In re
Orthopedic Bone Screw Product Liability Litigation, MDL No. 1014.

        Kristine has been named one of the “Top 100” Super Lawyers in Northern California as well as
one of the “Top 50” women lawyers by Thomson Reuters and San Francisco magazine. She has also been
named one of San Francisco’s 10 best personal injury lawyers by Forbes. She is currently an officer of the
American Association for Justice and the Santa Clara County Bar Association. Kristine is also a member
of the San Francisco Trial Lawyers Association and serves on the Board of Governors for the Consumer
Attorneys of California. She is a former chair of the Minority Issues Committee of the San Francisco Bar
Association Barrister Club.


                     Favorable Outcomes and Significant Recoveries

  Antitrust


      In re Lidoderm Antitrust Litigation, No. 14-md-02521 (N.D. Cal.). Girard Sharp lawyers were
appointed co-lead counsel in a class action on behalf of end-purchasers of the prescription drug
Lidoderm who alleged that two drug companies, Endo Pharmaceuticals and Teikoku Pharma,
unlawfully paid a third, Watson Pharmaceuticals, to delay the launch of more affordable generic
Lidocaine patches. The firm secured a $104.75 million settlement on the eve of trial. The court wrote


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that “Class counsel provided their clients with diligent and skilled representation in this matter” and
“their efforts produced substantial benefits for the End-Payor Class.”

       In re Restasis Antitrust Litigation, No. 1:18-md-02819 (E.D.N.Y.). Girard Sharp serves as co-
lead counsel in this indirect purchaser class action alleging suppression of generic competition to the
dry-eye prescription drug Restasis. The plaintiffs alleged that Allergan fended off more affordable
generic alternatives through a multifaceted scheme; among other conduct, Allergan sold Restasis
patent rights to the St. Regis Mohawk Tribe, which licensed them back to Allergan, which then
invoked tribal sovereign immunity in response to a patent challenge. After certifying a class of
consumers and third-party payors, Girard Sharp helped secure a $30 million settlement, which was
granted final approval in August 2022. The Honorable Nina Gershon found that Girard Sharp and its
co-counsel were “extremely qualified and able to represent the certified class” and “extremely
experienced in litigating pharmaceutical antitrust cases on behalf of end-payors. During their court
appearances before me and in their written submissions, they were thorough, diligent, and
professional as they prosecuted this complex, discovery-intensive, and expert-dependent action. In
addition to opposing, with nearly complete success, two motions to dismiss, counsel litigated,
intensively and successfully, a complicated class certification motion, which involved not only
extensive briefing but a two-day evidentiary hearing.”
         In re Capacitors Antitrust Litigation, No. 3:17-md-02801-JD (N.D. Cal.). Girard Sharp served
on the plaintiffs’ executive committee for the certified direct purchaser class in this MDL against a
large group of defendant manufacturers that allegedly conspired to raise, fix, maintain and stabilize
prices of aluminum, tantalum and film capacitors—products commonly found in computers,
vehicles, smart devices and other electronics. The defendants’ global conspiracy was centered in East
Asia. Girard Sharp was responsible for developing the case against U.S. defendant KEMET, which
ultimately agreed to pay $62 million—over 12% of non-trebled damages. Total settlements in the
litigation exceeded $604 million.
         In re TFT-LCD (Flat Panel) Antitrust Litigation, MDL No. 1827 (N.D. Cal.). The firm served
as liaison counsel for the direct purchaser plaintiffs and certified direct purchaser class in this
multidistrict antitrust litigation against makers of LCD screens alleging a far-reaching conspiracy to
raise, fix, maintain and stabilize prices. The direct purchasers achieved settlements of more than $400
million.

        In re Aggrenox Antitrust Litigation, No. 14-md-2516 (D. Conn.). Girard Sharp served on the
Plaintiffs’ Executive Committee in this “pay-for-delay” litigation accusing Teva Pharmaceuticals
USA, Inc. and Boehringer Ingelheim Pharmaceuticals, Inc. of illegally agreeing to keep generic
Aggrenox off the market. The case settled for $54 million.

        In re Solodyn Antitrust Litigation, No. 14-md-2503 (D. Mass.). The firm served on the
Plaintiffs’ Executive Committee in this action alleging that Medicis Pharmaceuticals and several
generic drug manufacturers conspired to monopolize the market for the acne drug Solodyn. The case
settled for over $40 million in cash.

       In re Natural Gas Antitrust Cases I, II, III and IV, J.C.C.P. No. 4221 (Cal. Super. Ct., San
Diego Cty.). Girard Sharp served on the leadership team in coordinated antitrust litigation against
numerous natural gas companies for manipulating the California natural gas market. The firm helped
achieve settlements of nearly $160 million.

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  Securities and Financial Fraud

        In re Maxar Technologies Inc. Shareholder Litigation, No. 19CV357070 (Cal. Super. Ct., Santa
Clara Cty.). Serving as co-lead counsel, Girard Sharp prosecuted this certified class action on behalf
of investors of Maxar Technologies, Ltd. (NYSE: MAXR) who alleged material misstatements and
omissions concerning the performance and financial outlook of one of Maxar’s core business units.
In December 2023, the Superior Court granted final approval of a $36.5 million settlement—one of
the largest securities judgments ever achieved in California state court.
       In re JPMorgan Precious Metals Spoofing Litigation, No. 1:18-cv-10356 (S.D.N.Y). Girard
Sharp served on the Plaintiffs’ Executive Committee in a class action against JPMorgan Chase & Co.
for market manipulation in violation of the Commodities Exchange Act. In July 2022, the court
approved a $60 million settlement that fully compensated claimants for their losses.
        In re Woodbridge Investments, No. 2:18-cv-00103 (C.D. Cal.). Girard Sharp served as lead
counsel representing investors in securities issued by the Woodbridge Group of Companies.
Woodbridge and its founder Robert Shapiro—now serving a 25-year prison sentence—operated a
massive Ponzi scheme from 2012 through 2017. Plaintiffs alleged that Comerica Bank, which
serviced all the Woodbridge accounts, knew of and substantially assisted the fraud. Acting as lead
counsel, Girard Sharp worked closely with the Woodbridge bankruptcy trustee and prevailed in large
part against Comerica’s motion to dismiss. After substantial discovery, and with class certification
fully briefed, the parties (including the trustee) reached a $54.2 million settlement for the investors.
       In re CannTrust Holdings, Inc. Securities Litigation, No. 1:19-cv-06396-JPO (S.D.N.Y.). Girard
Sharp represented investors in California state court against officers, directors and underwriters
involved with a Canada-based cannabis operation that was running unregistered “grows.”
Coordinated with litigation in Canada, the CannTrust case settled for $83 million.

        Magowski v. The Parking REIT, Inc., No. 24-C-19-003125; Barene v. The Parking REIT, Inc.,
No. 24-C-19-003527 (Circuit Court for Baltimore City). Girard Sharp and co-counsel sued The
Parking REIT’s CEO and Chairman, Michael Shustek, along with the REIT’s directors, on behalf of
investors who faced a complete loss on their investments after Shustek carried out a series of alleged
self-dealing transactions in connection with internalizing the company’s external manager. After
deposing whistleblowers, Girard Sharp coordinated negotiations among The Parking REIT, the
individual defendants, plaintiffs in a separate suit in federal court in Nevada, and a potential acquirer
to arrive at a settlement that provided for cash payments to the stockholders, an injection of new
capital into the company, and forfeiture of Shustek’s right to receive additional shares. The court
described this result as “well more than adequate” as it delivered more than half the maximum
potential recovery in the case.
       Daccache v. Raymond James Financial, Inc., No. 1:16-cb-21575-FAM (S.D. Fla.). Girard Sharp
served as a member of the leadership team representing investors in various Jay Peak EB-5
Immigrant Investor Program project offerings. The investors’ funds were diverted and
misappropriated instead of being applied to the intended project to develop the area surrounding the
Jay Peak Ski Resort. In June 2017, the court approved a settlement of $150 million for the investors.




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       In re Oppenheimer Rochester Funds Group Securities Litigation, No. 09-md-02063-JLK (D.
Colo). Girard Sharp represented investors who were misled by the Oppenheimer California
Municipal Bond Fund about the investment risks associated with the fund’s holdings. On November
6, 2017, the Honorable John L. Kane approved a $50.75 million settlement for the investors.
       In re Sears Holdings Corporation Stockholder and Derivative Litigation, Consolidated C.A. No.
11081-VCL (Del. Ch.). Girard Sharp served as co-lead counsel on behalf of the company in this
derivative suit charging CEO and majority owner Edward S. Lampert and other directors with
depriving stockholders of the full value of 266 of Sears Holdings’ most valuable properties. Girard
Sharp obtained a $40 million settlement for Sears Holdings Corporation in the Court of Chancery.
         In re Digex, Inc. Shareholder Litigation, Consol. No. 18336 (Del. Ch.). Girard Sharp
represented the Kansas Public Employees Retirement System, one of two institutional lead plaintiffs
in this lawsuit; minority stockholders of Digex, Inc. sued to enjoin MCI WorldCom’s planned
acquisition of a controlling interest in Digex via a merger with Intermedia Communications, Inc.
A settlement approved by the Delaware Chancery Court secured $165 million in MCI WorldCom
stock and $15 million in cash for Digex shareholders, as well as non-cash benefits valued at $450
million.

       Billitteri v. Securities America, Inc., No. 3:09-cv-01568-F (N.D. Tex.). Girard Sharp served
as lead counsel in an action against broker-dealer Securities America, Inc. and its corporate parent,
Ameriprise, Inc. in connection with sales of investments in the Provident Royalties and Medical
Capital investment schemes. Daniel Girard coordinated negotiations resulting in a $150 million
settlement, with $80 million allocated to class plaintiffs represented by Girard Sharp and $70 million
allocated to individual investors who had initiated arbitration proceedings. The settlements returned
over 40% of investment losses. In approving the settlement, the court found that Girard Sharp
attorneys “possess great competence and experience, and the result reached in this case perfectly
exemplifies their abilities. The Court has been extremely impressed with the conduct, skill, and
accomplishment of Class Counsel throughout this litigation.”

        In re Lehman Brothers Equity/Debt Securities Litigation, No. 08-Civ-5523 (S.D.N.Y.). Girard
Sharp was appointed class counsel for a certified class of retail investors in structured products sold
by UBS Financial Services, Inc., following the collapse of Lehman Brothers Holdings, Inc. in the
largest bankruptcy in American history. The plaintiffs alleged that UBS misrepresented Lehman’s
financial condition and failed to disclose that the “principal protection” feature of many of the notes
depended upon Lehman’s solvency. Girard Sharp negotiated a settlement that established a $120
million fund to resolve these claims.

       In re Prison Realty Securities Litigation, No. 3:99-0452 (M.D. Tenn.). Girard Sharp served as co-
lead counsel in this securities class action brought against a real estate investment trust and its officers
and directors relating to a merger between Corrections Corporation of America and CCA Prison
Realty Trust. The court approved a settlement for over $120 million in cash and stock.

      In re American Express Financial Advisors Securities Litigation, No. 04-cv-01773-DAB
(S.D.N.Y.). Girard Sharp served as co-lead counsel in this class action on behalf of individuals who
bought financial plans and invested in mutual funds from American Express Financial Advisors.
The case alleged that American Express steered its clients into underperforming “shelf space funds”


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to reap kickbacks and other financial benefits. The court granted final approval of a settlement
providing $100 million in cash and other relief.

       Scheiner v. i2 Technologies, Inc., No. 3:01-CV-418-H (N.D. Tex.). Girard Sharp represented the
lead plaintiff—the Kansas Public Employees Retirement System—and served as co-lead counsel on
behalf of investors in i2 Technologies. The Honorable Barefoot Sanders approved cash settlements for
$88 million from the company, its officers, and its former auditor Arthur Andersen. As part of the
settlement, i2 agreed to significant corporate governance reforms.


        In re Peregrine Financial Group Customer Litigation, No. 1:12-cv-5546 (N.D. Ill.). As one of two co-
lead counsel, Girard Sharp prosecuted this litigation under the Commodities Exchange Act and state law
on behalf of investors who lost millions in the collapse of a commodities futures merchant. The litigation
generated recoveries of more than $75 million. The court wrote that counsel “conferred an impressive
monetary benefit on the Settlement Class: the funds recovered from U.S. Bank are substantial—both in
absolute terms and when assessed in light of the risks of establishing liability and damages.”

       CalSTRS v. Qwest Communications, No. 415546 (Cal. Super. Ct., S.F. Cty.). Girard Sharp
represented the California State Teachers Retirement System in this opt-out securities fraud case
against Qwest Communications, Inc. and certain of its officers and directors, as well as its outside
auditor Arthur Andersen. The case resulted in a precedent-setting $45 million settlement for
California schoolteachers.

        In re SLM Corp. Securities Litigation, No. 08-Civ-1029-WHP (S.D.N.Y). Girard Sharp served
as lead counsel representing investors of SLM Corporation who alleged Sallie Mae, the leading
provider of student loans in the United States, misled the public about its financial performance to
inflate the company’s stock price. After achieving nationwide class certification, Girard Sharp
negotiated a settlement that established a $35 million fund to resolve the investors’ claims.

        In re Winstar Communications Securities Litigation, No. 01 Civ. 11522 (S.D.N.Y.). Girard Sharp
represented Allianz of America, Inc., Fireman’s Fund and other large private institutional investors
against Grant Thornton and other defendants on claims arising out of plaintiffs’ investments in
Winstar Communications, Inc. The firm achieved a settlement on the eve of trial that provided a
recovery rate over 30 times higher than what class members received in a related class action. After
deduction of attorneys’ fees, the fund returned 78.5% of potentially recoverable losses.

       In re Oxford Tax Exempt Fund Securities Litigation, No. WMN-95-3643 (D. Md.). Girard Sharp
served as co-lead counsel in class and derivative litigation brought on behalf of a real estate limited
partnership with assets of over $200 million. The parties reached a settlement providing for exempt
issuance of securities under section 3(a)(10) of the Securities Act of 1933, public listing of units, and
additional benefits valued at over $10 million.

        Calliott v. HFS, Inc., No. 3:97-CV-0924-L (N.D. Tex.). Girard Sharp intervened on behalf of an
institutional client in this securities class action arising out of the bankruptcy of Amre, Inc., a seller of
home remodeling and repair services. After being designated lead counsel under the Private Securities
Litigation Reform Act, Girard Sharp negotiated and obtained court approval of settlements totaling
$7.3 million.


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       In re Towers Financial Corporation Noteholders Litigation, MDL No. 994 (S.D.N.Y.). This class
action was brought against promoters and professionals linked to a failed investment scheme that the
SEC described at the time as being the “largest Ponzi scheme in U.S. history.” The case resulted in $6
million in partial settlements and a $250 million judgment entered against four senior Towers
executives. Girard Sharp served as liaison counsel and as a Plaintiffs’ Executive Committee member.
The court stated that “class counsel—particularly plaintiffs’ liaison counsel, Daniel Girard—has
represented the plaintiffs diligently and ably in the several years that this litigation has been before
me.” 177 F.R.D. 167, 171 (S.D.N.Y. 1997).

  Deceptive Trade Practices

         In re JUUL Labs, Inc., Marketing, Sales Practices, and Products Liability Litigation, No. 19-md-02913-
WHO (N.D. Cal.). Girard Sharp served as co-lead counsel in this multidistrict litigation concerning the
vaping epidemic, which affected countless American youth. The firm represented plaintiffs ranging from
e-cigarette purchasers and injured users to school districts and Native American tribes. In May 2023,
Girard Sharp lawyers conducted a jury trial against Altria (formerly Philip Morris), which agreed to a
$235 million settlement after the plaintiff rested. Girard Sharp also took the lead in pursuing an innovative
RICO claim and obtaining certification of nationwide consumer class of e-cigarette buyers. The JUUL
litigation delivered nearly $2 billion in recoveries for the plaintiffs, including over $300 million in
recoveries for class members and an additional $1.7 billion for other plaintiff groups. The Honorable
William H. Orrick commented from the bench that the work performed was “really was excellent and the
result obtained was also excellent. Just a superb job.”
        In re Hyundai and Kia Horsepower Litigation, No. 02CC00287 (Cal. Super. Ct., Orange Cty.).
Girard Sharp served as lead counsel in this coordinated nationwide class action against Hyundai for
falsely advertising the horsepower ratings of more than 1 million vehicles over a ten-year period. The
case was aggressively litigated on both sides over several years. In all, over 850,000 Hyundai vehicle
owners received notice of the settlement, which was valued at $125 million and which provided cash
and other benefits to class members.

       In re Chase Bank USA, N.A. “Check Loan” Contract Litigation, No. 09-2032 (N.D. Cal.).
Girard Sharp and several other firms led this nationwide class action alleging deceptive marketing and
loan practices by Chase Bank USA, N.A. After certifying a nationwide class, the Honorable Maxine
M. Chesney granted final approval of a $100 million settlement benefiting Chase cardholders.

        In re Hyundai and Kia Fuel Economy Litigation, No. 2:13-ml-2424 (C.D. Cal.). In a lawsuit
alleging false advertising in connection with the fuel efficiency of various Hyundai and Kia models,
the firm served as liaison counsel and in that capacity regularly reported to the court and
coordinated a wide-ranging discovery process. The case resulted in a nationwide class action
settlement with an estimated value of up to $120 million.

       In re Providian Credit Card Cases, J.C.C.P. No. 4085 (Cal. Super. Ct., S.F. Cty.). Girard Sharp
served as court-appointed co-lead counsel in this nationwide class action brought on behalf of
Providian credit-card holders. The suit alleged that Providian engaged in unlawful, unfair and
fraudulent business practices in connection with marketing and assessing fees for its credit cards. The



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Honorable Stuart Pollack approved a $105 million settlement, plus injunctive relief—one of the largest
class action recoveries in consumer credit-card litigation.

       In re MCI Non-Subscriber Telephone Rates Litigation, MDL No. 1275 (S.D. Ill.). Girard Sharp
served as co-lead counsel and recovered an $88 million settlement for MCI telephone subscribers who
were charged rates and surcharges applicable to non-subscribers instead of the lower advertised rates.
In approving the settlement, the Honorable David Herndon highlighted “the complexity of the issues
involved; the vigorous opposition Plaintiffs’ counsel faced from sophisticated and well-funded
Defendants represented by skilled counsel; the achievement of a very large cash settlement fund under
these conditions”; and the “design and implementation of a computerized claims process, which
appears to have been highly successful.” Daniel Girard argued the key motions in the case and
designed the claim procedure.

        Skold v. Intel Corp., No. 1-05-CV-039231 (Cal. Super. Ct., Santa Clara Cty.). Girard
Sharp represented Intel consumers through a decade of hard-fought litigation, ultimately
certifying a nationwide class under an innovative “price inflation” theory and negotiating a
settlement that provided refunds and $4 million in cy pres donations. In approving the settlement, Judge
Peter Kirwan wrote: “It is abundantly clear that Class Counsel invested an incredible amount of time
and costs in a case which lasted approximately 10 years with no guarantee that they would prevail. . .
Simply put, Class Counsel earned their fees in this case.”

       Steff v. United Online, Inc., No. BC265953, (Los Angeles Super. Ct.). This nationwide class
action was brought against NetZero, Inc. and its parent, United Online, Inc. by former NetZero
customers. Plaintiffs alleged that defendants falsely advertised their internet service as unlimited and
guaranteed for a specific period of time. The Honorable Victoria G. Chaney of Los Angeles Superior
Court granted final approval of a settlement that provided full refunds to customers whose services
were cancelled, and which also placed restrictions on Defendants’ advertising.

       Stoddard v. Advanta Corp., No. 97C-08-206-VAB (Del. Super. Ct.). This nationwide class action
was brought on behalf of cardholders who were promised a fixed APR for life in connection with
balance transfers, but whose APR was then raised pursuant to a notice of change in terms. The
Honorable Vincent A. Bifferato appointed the firm as co-lead counsel and approved a $7.25 million
settlement.

       Khaliki v. Helzberg’s Diamond Shops, Inc., No. 11-0010-CV-W-NKL (W.D. Mo.). Girard Sharp
and co-counsel represented consumers who alleged deceptive marketing in connection with the sale of
princess-cut diamonds. The court approved a favorable settlement, recognizing “that Class Counsel
provided excellent representation” and obtained “a favorable result relatively early in the case, which
benefits the Class while preserving judicial resources.” The court further recognized that “Class
Counsel faced considerable risk in pursuing this litigation on a contingent basis, and obtained a
favorable result for the class given the legal and factual complexities and challenges presented.”

       In re Tyson Foods Inc., Chicken Raised Without Antibiotics Consumer Litigation, No. RDB- 08-
1982 (D. Md.). Girard Sharp served as Class Counsel on behalf of consumers who purchased
chicken products misleadingly labeled as having been “raised without antibiotics.” After discovery,
counsel negotiated a cash settlement that required Tyson Foods to pay class members and make
substantial cy pres contributions to food banks.


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  Defective Products

          In re MacBook Keyboard Litigation, No. 5:18-cv-02813-EJD (N.D. Cal.). Girard Sharp secured a
$50 million settlement for purchasers of MacBook laptops fitted with an ultrathin “butterfly”
keyboard. After obtaining multistate class certification, the firm, acting as co-lead counsel, pursued the
case through expert discovery and summary judgment before securing the settlement. After the court
approved the settlement in May 2023, MacBook purchasers who experienced repeat keyboard failures
received compensation of several hundred dollars. The Honorable Edward J. Davila recognized
Girard Sharp’s “skill and diligent prosecution” and found that “Class Counsel achieved excellent
results,” stating in part that “[t]he Class benefitted from Counsel’s decades of experience in
prosecuting class actions, evidenced by Class Counsel’s successful defense in three rounds of motions
to dismiss, certification of the seven-state class and subclasses, and prolonged settlement negotiations
. . . in pursuit of the best outcome.”
        Bentley v. LG Electronics U.S.A., Inc., No. 2:19-cv-13554-MCA-MAH (D.N.J.). Girard Sharp
served as co-lead counsel representing consumers who paid premium prices for LG refrigerators prone
to stop cooling, resulting in spoiled food and medicine, due to a malfunctioning linear compressor
part. The plaintiffs reached a settlement under which every refrigerator owner could receive several
thousand dollars in compensation, and those without documentation could recover up to $450. The
class members also received a five-year extended warranty covering the full cost of repairs for cooling
failures. In approving the settlement, the Honorable Madeline Cox Arleo noted that “the settlement is
available to over a million and a half Americans who purchased allegedly defective refrigerators; there
is absolutely no -- there is no cap on the award that a claimant can get. Claimants will be made whole,
plus the additional warranty.”
        Burd v. Subaru of America, Inc., No. 1:20-cv-03095-JHR-MJS (D.N.J.). Girard Sharp served as
co-lead counsel for owners and lessors of Subaru vehicles with an alleged defect that causes the battery
to drain and deplete prematurely, leaving many drivers stranded. After plaintiffs prevailed in
significant part on Subaru’s motion to dismiss, the case settled on favorable terms, providing class
members with cash reimbursements, a technical fix for the battery drain problem, and enhanced
warranty protections.
        Weeks v. Google LLC, No. 18-cv-00801-NC (N.D. Cal.). Girard Sharp served as co-lead counsel
representing owners of Google Pixel and Pixel XL smartphones. The lawsuit alleged that a defect in
the Google phones caused the microphones to fail, such that users were unable to make calls, dictate
texts, record audio, search the web with voice command, or use the advertised Google Assistant
feature. On December 6, 2019, the court approved a $7.25 million settlement for the class that it
deemed “excellent.”
        In re Nexus 6P Products Liability Litigation, No. 5:17-cv-02185-BLF (N.D. Cal). Girard Sharp
was appointed as co-lead counsel in a class action alleging that Nexus 6P smartphones suffered from a
defect that rendered the phones inoperable through an endless boot-loop cycle and an accelerated
battery drain that caused the phones to shut off prematurely. On November 11, 2019, the Honorable
Beth L. Freeman approved a $9.75 million class settlement, finding in part that “Class counsel has
extensive experience representing plaintiffs and classes in complex litigation and consumer class
actions.… [T]he quality of their work is reflected in the results achieved for the class.” 2019 WL
6622842, at *10, *12 (N.D. Cal. Nov. 12, 2019).


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       In re iPod Cases, JCCP No. 4355 (Cal. Super. Ct., San Mateo Cty.). Girard Sharp, as court-
appointed co-lead counsel, negotiated a settlement that provided warranty extensions, battery
replacements, cash payments, and store credits for class members who experienced battery failure. In
approving the settlement, the Honorable Beth L. Freeman wrote that Girard Sharp attorneys are
“extremely well qualified” and negotiated a “significant and substantial benefit” for the class.

        Sugarman v. Ducati North America, Inc., No. 5:10-cv-05246-JF (N.D. Cal.). The firm served as
class counsel on behalf of owners of Ducati motorcycles whose fuel tanks degraded and deformed due
to incompatibility with the motorcycles’ fuel. In January 2012, the Honorable Jeremy D. Fogel
approved a settlement that provided an extended warranty and repairs, commenting: “The Court
recognizes that class counsel assumed substantial risks and burdens in this litigation. Representation
was professional and competent; in the Court’s opinion, counsel obtained an excellent result for the
class.” 2012 WL 113361, at *6 (N.D. Cal. Jan. 12, 2012).

        Parkinson v. Hyundai Motor America, No. CV 8:06-0345 (C.D. Cal.). Girard Sharp served as
class counsel in this action alleging that the flywheel and clutch system in certain Hyundai vehicles
was defective. After achieving nationwide class certification, Girard Sharp negotiated a settlement that
provided from 50% to 100% in reimbursement to class members for their repairs, depending on their
vehicle’s mileage at the time of repair. The settlement also provided full reimbursement for rental car
expenses for class members who rented a vehicle while flywheel or clutch repairs were being
performed. After approving the settlement, the court wrote, “Perhaps the best barometer of . . . the
benefit obtained for the class . . . is the perception of class members themselves. Counsel submitted
dozens of letters from class members sharing their joy, appreciation, and relief that someone finally
did something to help them.” 796 F. Supp. 2d 1160, 1175 (C.D. Cal. 2010).

       In re Medtronic, Inc. Implantable Defibrillators Products Liability Litigation, MDL No. 1726 (D.
Minn.). Girard Sharp served on the discovery and law committees and performed briefing, discovery,
and investigative work in this lawsuit that followed a February 2005 recall of certain models of
Medtronic implantable cardioverter defibrillator devices. The controversy was resolved for $75
million.

        Browne v. American Honda Motor Co., Inc., No. CV 09-06750 (C.D. Cal.). Girard Sharp served
as co-lead counsel representing plaintiffs who alleged that about 750,000 Honda Accord and Acura
TSX vehicles had brake pads that wore out prematurely. Girard Sharp negotiated, and the court
approved, a settlement valued at $25 million that provided reimbursements to class members and
made improved brake pads available.

        In re General Motors Dex-Cool Cases, No. HG03093843 (Cal. Super Ct. Alameda Cty.). These
class actions alleged that General Motors’ Dex-Cool engine coolant damaged certain vehicles’ engines
and formed a rusty sludge that caused vehicles to overheat. After consumer classes were certified in
both Missouri and California, General Motors agreed to pay cash to class members nationwide. On
October 27, 2008, the California court granted final approval of the settlement.

        Roy v. Hyundai Motor America, No. SACV 05-483-AHS (C.D. Cal.). Girard Sharp served as
co-lead counsel in this nationwide class action alleging a defect in the air-bag system in Hyundai
Elantra vehicles. Girard Sharp helped negotiate a settlement under which Hyundai agreed to repair
the air-bag systems in the vehicles it sold and leased to class members. Hyundai also agreed to


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reimburse class members for transportation expenses and administer an alternative dispute resolution
program for trade-ins and buy-backs. In approving the settlement, the Honorable Alicemarie H.
Stotler described the settlement as “pragmatic” and a “win-win” for all concerned.

  Privacy Violations

        In re U.S. Office of Personnel Management Data Security Litigation, MDL No. 2664 (D.D.C.).
Girard Sharp serves as lead counsel on behalf of 22 million federal government employees and job
applicants whose highly sensitive personnel files were stolen in a 2015 hack attributed to the Chinese
government. After the district court dismissed the Privacy Act claims against the United States for
lack of standing and failure to state a claim, the D.C. Circuit reversed. See 928 F.3d 42 (D.C. Cir.
2019). On remand, despite the immunity that limits recovery to pecuniary loss, see FAA v. Cooper,
566 U.S. 284 (2012), and the breach reportedly having been perpetrated by a foreign state actor,
Girard Sharp negotiated a $63 million settlement for the class. The settlement, finally approved by
the court in 2022, compensated victims who suffered a financial loss as a result of the data breach,
providing for minimum payments of $700.
        In re Lenovo Adware Litigation, MDL No. 2624 (N.D. Cal.). Girard Sharp is co-lead counsel
for a class of computer purchasers whose online activities were surreptitiously monitored by pre-
installed software. The undisclosed spyware degraded the computers’ performance, operating
continuously in the background as it analyzed browsing activity and injected ads into visited
webpages. The Honorable Ronald M. Whyte certified a nationwide indirect purchaser class for trial.
2016 WL 6277245 (N.D. Cal. Oct. 27, 2016). After the defendants agreed to a non-reversionary
cash settlement, Girard Sharp helped design a claims process that allowed each participating class
member to choose between (1) completing a short online claim form to receive an estimated $40
cash payment for every purchased computer, or (2) submitting receipts or other documentation to
recover sums actually expended as a result of the spyware being on the computer, up to $750. The
Honorable Haywood S. Gilliam granted final approval of the settlement. 2019 WL 1791420 (N.D.
Cal. Apr. 24, 2019).
        Corona v. Sony Pictures Entertainment, No. 2:14-cv-09600-RGK-SH (C.D. Cal.). Girard Sharp
served as co-lead counsel in a class action brought on behalf of 15,000 current and former employees
of Sony Pictures Entertainment following a cyberattack attributed to North Korean intelligence as
retaliation for release of the film The Interview. In April 2016, the court approved a class settlement
that reimbursed actual losses in full and provided extended credit monitoring—a structure adopted
in many subsequent data breach settlements.
        In re Yahoo Mail Litigation, No. 5:13-cv-04980-LHK (N.D. Cal.). Girard Sharp represented
non-Yahoo email subscribers whose emails with Yahoo email subscribers were illegally intercepted
and scanned by Yahoo. The court, in a widely-cited opinion, certified a nationwide class for
injunctive-relief purposes. 308 F.R.D. 577 (N.D. Cal. 2015). With cross-motions for summary
judgment fully briefed, the parties settled. Yahoo agreed to restructure its email delivery architecture
to ensure that incoming and outgoing email would no longer be intercepted while in transit—
bringing its email scanning practices into compliance with applicable law—and to disclose its email
scanning practices on its website. The court noted that “Class Counsel achieved these benefits only
after several years of litigation,” which they prosecuted “in an effective and cost-efficient manner.”
2016 WL 4474612, at *10 (N.D. Cal. Aug. 25, 2016).

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        In re The Home Depot, Inc. Customer Data Security Breach Litigation, MDL No. 2583 (N.D.
Ga.). The Honorable Thomas W. Thrash, Jr. appointed Girard Sharp to the Plaintiffs’ Executive
Committee in this MDL arising from a breach of Home Depot customers’ credit and debit card
information. Under the court-approved settlement, class members with documented claims could
receive up to $10,000, and the defendant paid an additional $6.5 million to provide 18 months of
identity monitoring services for the benefit of class members. 2016 WL 6902351, at *4 (N.D. Ga.
Aug. 23, 2016). Judge Thrash described the settlement as “an outstanding result for the Class in a
case with a high level of risk,” id. at *5, and further noted that “Class Counsel obtained an
exceptional result . . . .” 2017 WL 9605208, at *1 (N.D. Ga. Aug. 1, 2017).
        In re Target Corp. Customer Data Security Breach Litigation, MDL No. 2522 (D. Minn.).
Girard Sharp served on the Plaintiffs’ Steering Committee representing consumers whose personal
and financial information was compromised in a breach of Target’s point-of-sale systems. After
plaintiffs defeated Target’s motion to dismiss, see 66 F. Supp. 3d 1154 (D. Minn. 2014), the parties
agreed to a class settlement that was approved by the MDL court and upheld on appeal, see 892 F.3d
968 (8th Cir. 2018). The settlement requires changes to Target’s information security practices and
delivered cash recoveries to class members under a simplified claim procedure.

        In re Experian Data Breach Litigation, No. 15-01592 (C.D. Cal.). Girard Sharp served on the
Plaintiffs’ Steering Committee in this litigation arising out of a breach of Experian’s electronic
systems than compromised names, addresses, and social security numbers of T-Mobile subscribers.
The Honorable Andrew J. Guilford in 2019 granted final approval of a settlement that established a
$22 million fund and provided identity theft protection services for the benefit of class members,
commenting in part: “You folks have truly done a great job, both sides. I commend you.”

       In re Adobe Systems, Inc. Privacy Litigation, No. 5:13-cv-05226-LHK (N.D. Cal.). Girard Sharp
was appointed as lead counsel in this consolidated litigation on behalf of consumers asserting privacy
and consumer fraud claims arising from a 2013 data breach. Girard Sharp obtained a pivotal ruling
when the court denied Adobe’s motion to dismiss for lack of standing, ruling that the Supreme
Court’s decision in Clapper v. Amnesty International USA, 133 S. Ct. 1138 (2013), did not change
existing standing jurisprudence. 66 F. Supp. 3d 1197 (N.D. Cal. 2014). Before this ruling, many data
breach defendants had obtained dismissals for lack of standing based on Clapper. The Adobe ruling has
been followed by a number of courts, including the Seventh Circuit Court of Appeals in Remijas v.
Neiman Marcus Group, LLC. 794 F.3d 688, 693–94 (7th Cir. 2015).

       Prather v. Wells Fargo Bank, N.A., No. 17-cv-00481 (N.D. Ill.). Girard Sharp served as co-
lead counsel in an action alleging that Wells Fargo used an automatic telephone dialing system to
repeatedly call the cellular phone numbers of persons with no prior affiliation with Wells Fargo. On
December 10, 2019, the Honorable Manish S. Shah of the Northern District of Illinois granted final
approval of a settlement that established a fund of $17,850,000 for class members.

        Whitaker v. Health Net of California, Inc., No. 2:11-cv-00910-KJM-DAD (E.D. Cal.); Shurtleff v.
Health Net of California, Inc., No. 34-2012-00121600-CU-CL (Cal. Super Ct. Sacramento Cty.). Girard
Sharp served as co-lead counsel in this patient privacy action. On June 24, 2014, the court granted
final approval of a settlement that provided class members with credit monitoring, established a $2
million fund to reimburse consumers for related identity theft incidents, and required material
upgrades to and monitoring of Health Net’s information security protocols.


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       In re Sony BMG CD Technologies Litigation, No.1:05-cv-09575-NRB (S.D.N.Y.). Girard Sharp
served as co-lead counsel for a class of consumers who alleged that Sony BMG incorporated “Digital
Rights Management” software into its music CDs, violating the Computer Fraud and Abuse Act, 18
U.S.C. § 1030 et seq., and rendering the consumers’ computers vulnerable to viruses and spyware. The
firm negotiated a settlement that required Sony BMG to promptly recall all affected CDs and provide
“clean” CDs and cash to class members.

        In re Countrywide Financial Corp. Customer Data Security Breach Litigation, MDL No. 1988
(W.D. Ky.). Girard Sharp served on the Plaintiffs’ Executive Committee representing a class of
millions of actual and potential customers of Countrywide whose personal information was stolen by
a former Countrywide employee and then sold to other mortgage lenders. The class settlement
approved by the court provided for free credit monitoring, reimbursement of out-of-pocket expenses
incurred as a result of the theft, and reimbursement of up to $50,000 per class member for identity
theft losses.

        Smith v. Regents of the University of California, San Francisco, No. RG-08-410004 (Cal.
Super Ct. Alameda Cty.). Girard Sharp represented a patient who alleged that UCSF’s disclosure of
its patients’ medical data to outside vendors violated California’s medical privacy law. The firm
succeeded in negotiating improvements to UCSF’s privacy procedures on behalf of a certified class
of patients of UCSF Medical Center. In approving the stipulated permanent injunction, the
Honorable Stephen Brick found that “Smith has achieved a substantial benefit to the entire class and
the public at large.”


  Insurance and Other Consumer Protection Matters

         In re PFA Insurance Marketing Litigation, No. 4:18-cv-03771-YGR (N.D. Cal.). Girard Sharp
prosecuted this certified class action on behalf of owners of indexed universal life insurance issued
by National Life Group. Plaintiffs alleged that NLG and its sales agency, Premier Financial
Alliance, sold these policies through a pyramid scheme targeting Asian immigrants. Under a
settlement reached during final pretrial preparation, claimants received an average payment of
$4,207. The Honorable Yvonne Gonzalez Rogers commended this “exceptional success,” finding
that Girard Sharp “represented the class with skill and diligence over the course of several years and
achieved remarkable success on behalf of the class . . . despite the relative novelty of their theory of
liability, which applies the Endless Chain Scheme Law in the context of insurance products.”
       Spegele v. USAA Life Insurance Co., No. 5:17-cv-967-OLG (W.D. Tex.). After obtaining
nationwide class certification under Texas law, Girard Sharp and co-counsel reached a $90 million
settlement of claims that USAA Life Insurance systematically overcharged policyholders under their
policies’ “cost of insurance” terms. The settlement was approved as fair, reasonable, and adequate
in 2021 and benefited owners of 122,000 universal life insurance policies in effect since March 1,
1999.
       Larson v. John Hancock Life Insurance Company (U.S.A.), No. RG16813803 (Cal. Super. Ct.,
Alameda Cty.). Girard Sharp served as liaison counsel in this certified class action on behalf of
universal life insurance policyholders alleging John Hancock overcharged more than 100,000 of its


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insureds, depriving them of the full value of the premiums they paid over time. On May 8, 2018, the
Honorable Brad Seligman granted final approval of a $59 million settlement.
       Ide v. British Airways, No. 20-cv-03542-JMF (S.D.N.Y). Girard Sharp represented British
Airways passengers suing over the airline’s refusal to issue refunds for COVID 19-related
cancellations. The court approved a comprehensive settlement for refunds and interest in November
2022.

         In re America Online Spin-Off Accounts Litigation, MDL No. 1581 (C.D. Cal.). Girard Sharp
served as court-appointed co-lead counsel in this nationwide class action on behalf of America
Online subscribers who were billed for a second account without their knowledge or consent. The
litigation settled for $25 million and changes in AOL’s billing and account practices.

       Mitchell v. American Fair Credit Association, No. 785811-2 (Cal. Super. Ct., Alameda Cty.);
Mitchell v. Bankfirst, N.A., No. C-97-1421-MMC (N.D. Cal.). This class action was brought on
behalf of California members of the American Fair Credit Association (AFCA). Plaintiffs alleged
that AFCA operated an illegal credit repair scheme. The Honorable James Richman certified the
class and appointed the firm as class counsel. In February 2003, the Honorable Ronald Sabraw of
Alameda County Superior Court and the Honorable Maxine Chesney of the Northern District of
California granted final approval of settlements valued at over $40 million.

        In re Mercedes-Benz Tele Aid Contract Litigation, MDL No. 1914, CV No. 07-2720-DRD
(D.N.J.). Girard Sharp served as co-lead class counsel on behalf of consumers whose vehicles’
navigation systems were on the verge of becoming obsolete. Counsel obtained nationwide class
certification before negotiating a settlement valued at up to $50 million. In approving the settlement,
the court acknowledged that the case “involved years of difficult and hard-fought litigation by able
counsel on both sides” and that “the attorneys who handled the case were particularly skilled by
virtue of their ability and experience.” 2011 WL 4020862, at *4, *8 (D.N.J. Sept. 9, 2011).

        In re LookSmart Litigation, No. 02-407778 (Cal. Super. Ct., S.F. Cty.). This nationwide class
action was brought against LookSmart, Ltd. on behalf of consumers who paid an advertised “one
time payment” to have their websites listed in LookSmart’s directory, only to be charged additional
fees to continue service. The court granted final approval of a class settlement valued at
approximately $20 million that provided cash and other benefits.

        In re America Online, Inc. Version 5.0 Software Litigation, MDL No. 1341 (S.D. Fla.). Girard
Sharp served as co-lead counsel in this MDL involving 45 centralized actions. The case alleged
violations of state consumer protection statutes, the Computer Fraud and Abuse Act, and federal
antitrust laws arising from AOL’s distribution of its Version 5.0 software upgrade. The Honorable
Alan S. Gold granted final approval of a $15.5 million settlement.

        In re PayPal Litigation, No. C-02-1227-JF (PVT) (N.D. Cal.). Girard Sharp served as co-lead
counsel in this nationwide class action alleging violations of California consumer protection statutes
and the Electronic Funds Transfer Act (EFTA). Plaintiffs alleged that PayPal unlawfully restricted
access to consumers’ PayPal accounts. On September 24, 2004, Judge Fogel granted final approval of
a settlement valued at $14.35 million in cash and returned funds, plus injunctive relief to ensure
compliance with the EFTA.


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       Powers Law Offices, P.C. v. Cable & Wireless USA, Inc., No. 99-CV-12007-EFH (D. Mass).
Girard Sharp prosecuted this class action on behalf of cable and wireless subscribers who were
overcharged for recurring fees. The court granted final approval of an $8 million settlement, and the
bankruptcy court approved a 30% distribution from the unsecured creditors’ fund of bankruptcy
liquidation proceeds.

        Lehman v. Blue Shield of California, No. CGC-03-419349 (Cal. Super. Ct., S.F. Cty.). In this
class action charging Blue Shield with having illegally modified the risk-tier structure of its
individual and family health care plans, Girard Sharp negotiated a $6.5 million settlement on behalf
of current and former Blue Shield subscribers in California. The Honorable James L. Warren
granted final approval of the settlement in March 2006.

       Telestar v. MCI, Inc., No. C-05-Civ-10672-JGK (S.D.N.Y). This class action was brought on
behalf of MCI commercial subscribers who were charged both interstate and intrastate fees for the
same frame relay on prorate line service during the same billing period. On April 17, 2008, the
Honorable John G. Koeltl approved a favorable cash settlement.

       Wixon v. Wyndham Resort Development Corp., No. C-07-02361 JSW (BZ) (N.D. Cal.). Girard
Sharp served as class and derivative counsel in this litigation against a timeshare developer and the
directors of a timeshare corporation for violations of California law. Plaintiffs alleged that the
defendants violated their fiduciary duties by taking actions for the financial benefit of the timeshare
developer to the detriment of the owners of timeshare interests. On September 14, 2010, the district
court approved a settlement of the derivative claims.

        Berrien v. New Raintree Resorts, LLC, No. CV-10-03125 CW (N.D. Cal.); Benedict v. Diamond
Resorts Corporation, No. CV 12-00183-DAE (D. Hawaii). Girard Sharp pursued these actions on
behalf of timeshare owners, challenging the imposition of unauthorized “special assessment” fees.
The court in each case approved a favorable settlement of the claims asserted on behalf of class
members who were charged the fee.

       Allen Lund Co., Inc. v. AT&T Corporation, No. C 98-1500-DDP (C.D. Cal.). This class action
was brought on behalf of small businesses whose long-distance service was switched to Business
Discount Plan, Inc. The Honorable Dean D. Pregerson appointed Girard Sharp as class counsel, and
thereafter approved a settlement providing full cash refunds and free long-distance telephone service.

       Mackouse v. The Good Guys – California, Inc., No. 2002-049656 (Cal. Super Ct. Alameda Cty.).
This nationwide class action against The Good Guys and its affiliates alleged violations of the Song-
Beverly Consumer Warranty Act and other California consumer protection laws. Plaintiff alleged that
The Good Guys failed to honor contracts that it offered for sale to customers in exchange for
protection of a purchase after the manufacturer’s warranty expired. On May 9, 2003, the Honorable
Ronald M. Sabraw granted final approval of a settlement providing cash refunds or services at a class
member’s election.

       In re H&R Block Express IRA Litigation, MDL No. 1786 (W.D. Mo.). Girard Sharp served as
co-lead counsel in this MDL involving H&R Block’s marketing and sale of its “Express IRA”
investment products. The firms negotiated a settlement in coordination with the New York Attorney
General that delivered more than $19 million in cash to class members—resulting in a full recovery

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for consumers—as well as non-cash benefits entitling Express IRA holders to convert their
investments to alternative IRAs with lower fees.



Women’s Advocacy, Fertility, and Sexual Abuse

        In re Pacific Fertility Center Litigation, No. 3:18-cv-01586-JSC (N.D. Cal.). Girard Sharp
represented IVF patients of Pacific Fertility Center whose eggs and embryos were damaged or
destroyed in a cryopreservation tank failure. On June 11, 2021, after a three-week trial, a jury found
the tank manufacturer, Chart Industries Inc., liable for a defect in the tank and for negligent failure
to recall a part that malfunctioned (a “controller” designed to monitor liquid nitrogen levels). The
jury awarded approximately $15 million in damages to three women who lost eggs and a married
couple who lost embryos in the catastrophic incident. The three women were each awarded between
$2 million and $3 million, and the couple was awarded $7.2 million. Girard Sharp also secured
settlements in 2023 for over 80 families who lost reproductive material in the tank failure.
        In re USC Student Health Center Litigation, No. 2:18-cv-06115 (C.D. Cal.). Girard Sharp
served as co-lead counsel in a class action against the University of Southern California and campus
gynecologist Dr. George Tyndall on behalf of women who were sexually abused by Tyndall during
his long tenure at USC. A federal judge approved a class action settlement with USC that
established a $215 million fund and gave every survivor a choice in how to participate. The claims
process received wholehearted praise from class members for the compassionate and generous
approach. The settlement also required USC to adopt and implement procedures for identification,
prevention, and reporting of sexual and racial misconduct, as well as to recognize the harm done to
Tyndall’s patients.
       A.B. v. The Regents of the University of California, No. 2:20-cv-09555-RGK-E (C.D. Cal.).
Girard Sharp lawyers filed and successfully resolved a class action lawsuit against UCLA on behalf
of women treated by UCLA gynecologist Dr. James Heaps. Heaps was convicted of sexual batteries
committed while working as a staff gynecologist at UCLA—a position he held for almost 30 years.
The UC Regents agreed to resolve the claims, and the District Court granted final approval of the
settlement, finding that: “Class Counsel delivered robust results for the Class, negotiating a flexible
and trauma-informed settlement that has provided $73 million in compensation to class members
and precipitated significant institutional changes at UCLA. No class member objected. Class
Counsel crafted an innovative claims process that was sensitive to the trauma many Class members
experienced, providing a non-adversarial alternative to individual litigation.”

  Mass Tort

       In re Actos (Pioglitazone) Products Liability Litigation, MDL No. 2299 (W.D. La.). Girard
Sharp lawyers were appointed to the Plaintiffs’ Steering Committee and served on the Daubert and
Legal Briefing Committees in this MDL. A $2.37 billion global settlement was achieved.

    In re Yasmin and Yaz (Drospirenone) Marketing, Sales, Practices and Products Liability Litigation,
MDL No. 2385 (S.D. Ill.). Girard Sharp lawyers were appointed to the Plaintiffs’ Steering Committee


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and served as Co-Chair of the Plaintiffs’ Law and Briefing Committee in this MDL that produced
settlements worth approximately $1.6 billion.


       In re Pradaxa (Dabigatran Etexilate) Products Liability Litigation, MDL No. 2385 (S.D. Ill.).
Girard Sharp lawyers were appointed to the Plaintiffs’ Steering Committee in mass tort litigation
that culminated in settlements worth approximately $650 million.

  Government Reform

         Paeste v. Government of Guam, No. 11-cv-0008 (D. Guam) (Marshall, J.). Girard Sharp and
co-counsel served as class counsel in litigation against the Government of Guam on behalf of
Guam taxpayers for chronic late payment of income tax refunds. After obtaining certification of a
litigation class, the plaintiffs prevailed at summary judgment and obtained a permanent injunction
reforming Guam’s administration of tax refunds. The Ninth Circuit affirmed the injunction. 798
F.3d 1228 (9th Cir. 2015), cert. denied, 136 S. Ct. 2508 (2016).


        Ho v. San Francisco Unified School District, No. C-94-2418-WHO (N.D. Cal.). This civil rights
action was brought on behalf of a certified class of San Francisco public school students of Chinese
descent to terminate racial and ethnic quotas imposed under a 1983 desegregation consent decree. See
Ho v. San Francisco Unified Sch. Dist., 965 F. Supp. 1316 (N.D. Cal. 1997), aff’d, 147 F.3d 854 (9th Cir.
1998); see also 143 Cong. Rec. S6097, 6099 (1997) (statement of Senator Hatch noting testimony of a
class representative before the Senate Judiciary Committee).




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